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6
     Attorneys for Defendant Inland Products, Inc.
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9                                   UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                           OAKLAND DIVISION

12

13    MONGKOL MAHAVONGTRAKUL,                         Case No. 4:18-cv-07261-HSG
      individually and on behalf of other similarly
14    situated individuals,                           DEFENDANT INLAND PRODUCTS,
                                                      INC.’S NOTICE OF MOTION AND
15                   Plaintiff,                       MOTION TO DISMISS FOR LACK OF
16                                                    SUBJECT-MATTER JURISDICTION;
             v.                                       MEMORANDUM OF POINTS AND
17                                                    AUTHORITIES IN SUPPORT THEREOF
      INLAND PRODUCTS, INC.,
18                                                    (Declaration of Michael Wang and Declaration of
                                                      Quincy Chuck concurrently filed herewith)
19                   Defendant.

20                                                    Date:           April 25, 2019
                                                      Time:           2:00 p.m.
21                                                    Courtroom:      2
                                                      Judge:          Hon. Haywood S. Gilliam, Jr.
22
                                                      Complaint Filed: November 30, 2018
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                                              MOTION TO DISMISS              Case No. 3:18-cv-07261-JSC
1                                   NOTICE OF MOTION AND MOTION
2    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
3           PLEASE TAKE NOTICE that on April 25, 2019 at 2:00 p.m., or as soon thereafter as the
4    matter may be heard in Courtroom 2 of the above-entitled Court, located at 1301 Clay Street, Oakland,
5    CA 94162, defendant Inland Products, Inc. (“Inland” or “Defendant”) will and hereby does move this
6    Court to dismiss plaintiff Mongkol Mahavongtrakul’s (“Mahavongtrakul” or “Plaintiff”) Class Action
7    Complaint (“Complaint” or “Compl.”) for lack of subject-matter jurisdiction pursuant to Federal Rule
8    of Civil Procedure 12(b)(1).
9           This motion is brought on the grounds that this Court cannot exercise subject-matter
10   jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”), because the total
11   amount in controversy does not exceed CAFA’s $5 million jurisdictional threshold. Accordingly,
12   Inland respectfully requests that the Court dismiss the Complaint.
13          This motion is based on this Notice of Motion and Motion, the Memorandum of Points and
14   Authorities below, the concurrently filed Declaration of Michael Wang, Declaration of Quincy J.
15   Chuck, the files, records, and pleadings already on file in this action, and such other and further
16   evidence, papers, and arguments as may be submitted to or properly considered by the Court.
17

18   DATED: January 30, 2019                      MASCHOFF BRENNAN
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                                                By: /s/ Michael I. Katz
20                                                       Michael I. Katz
                                                         Quincy Chuck
21                                              Attorneys for Defendant INLAND PRODUCTS, INC.

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                                               MOTION TO DISMISS                 Case No. 3:18-cv-07261-JSC
1                             MEMORANDUM OF POINTS AND AUTHORITIES
2    A.    INTRODUCTION
3            Federal courts are courts of limited jurisdiction, and the party seeking to invoke federal
4    jurisdiction bears the burden of proving that federal jurisdiction is appropriate at the time the
5    complaint is filed. A federal court must dismiss an action if “the court determines at any time that it
6    lacks subject-matter jurisdiction.” Fed. R. Civ. Proc. 12(h)(3). Plaintiff asserts that this Court can
7    exercise jurisdiction over this case under CAFA, 28 U.S.C. § 1332(d). Accordingly, as the party
8    asserting federal jurisdiction, Plaintiff must demonstrate that at the time she filed the Complaint at
9    least one member of the putative class was a citizen of a different state than the defendant, the class
10   size exceeded 100 members, and the amount in controversy exceeded $5,000,000. Here, the Court
11   does not have jurisdiction over this case because there is less than $5 million at stake.
12           Here, Plaintiff has sued over alleged sales by Inland of two portable power sources (“Power
13   Banks”). Plaintiff alleges that he purchased and tested two of Inland’s Power Banks. Of note, Plaintiff
14   alleges that Inland’s products are sold through numerous different retailers, including Fry’s Electronics,
15   its website, Amazon.com, and other retailers. (Compl., ¶¶ 10, 17.) However, the Complaint does not
16   allege actually purchasing any of Inland’s Power Banks from any retailer other than a single Fry’s
17   Electronics location in Contra Costa County. (Compl, ¶ 10.) The Complaint also does not allege or
18   identify any sales to customers in any other state, except this single sale in California. Based on the
19   scant facts in the Complaint, Plaintiff faces a high bar to even get certified as a class, let alone
20   ultimately prevail on his claim.
21           For example, as Inland’s products are sold at different retailers, each retailer chooses to describe
22   Inland’s products differently, with different levels of detail that Inland does not control. Plaintiff would
23   have to show commonality amongst class members who purchased from different retailers and were
24   exposed to very different marketing and product descriptions. As shown in the following screenshots,
25   just three of the retailers, Fry’s Electronics, Amazon.com, and Inland’s own website have very different
26   levels of description and emphasis:
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                                               MOTION TO DISMISS
                                                                                     Case No. 3:18-cv-07261-JSC
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6      Fry’s Electronics (Chuck Decl., Ex. A.)
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15    Inland Website (Chuck Decl., Ex. C.)                    Amazon.com (Chuck Decl., Ex. B.)
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                                                    Plaintiff will have to show that each proposed class
17
     member actually considered the mAh of the Power Banks to be material in deciding to purchase. As
18
     can be seen in the screenshots above, customers could be drawn to Inland’s Power Banks because of the
19
     three USB ports, Inland’s Power Banks’ built-in protections, the built-in flashlight, or as Inland’s own
20
     first line advertises, the “slim shape” and “fashionable design.” Customers, such as Plaintiff, may also
21
     experience real-life differences when using the Power Banks—if Plaintiff tested Inland’s Power Banks
22
     using inefficient devices that generate a lot of heat or have inefficient circuit designs, Plaintiff may have
23
     experienced less charging capacity due to no fault of Inland’s, much like a car not reaching its stated
24
     MPG if driven faster than intended. To address customer’s expectations of real-life usage of Inland’s
25
     Power Banks, and the fact that customers are unlikely to understand technical descriptions in terms of
26
     mAh, Inland made sure to provide a guideline as to the expected battery life when used with phones,
27
     informing customers that the Power Banks would provide an “extra 24 hours” of talk-time. Plaintiff
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                                              MOTION TO DISMISS
                                                                                    Case No. 3:18-cv-07261-JSC
1    does not address this real-life usage guidance that Inland provided, nor the difficulties Plaintiff will have
2    in certifying a class of customers who purchased from different retailers, saw different marketing and
3    product descriptions, considered different aspects of the Power Banks to be material, and even those
4    customers who would find battery capacity to be material, the differences between customers who
5    found the arcane mAh technical specification to be material, rather than Inland’s description of real-life
6    usage in plain and ordinary terms.
7          Even if Plaintiff were able to get a class certified of all Inland’s customers nationwide (despite not
8    providing any evidence of purchasers outside of California, and the many differences between
9    customers), Plaintiff would be hard-pressed to argue for even a fraction of the damages needed to
10   maintain subject matter jurisdiction. Inland’s total revenue from all sales of the two Power Banks at
11   issue is less than $200,000, and the net profit from all sales of the two Power Banks at issue is less than
12   $24,000. Thus, even if Plaintiff were to receive damages equal to all of Inland’s revenue, and even if
13   Plaintiff were to be awarded punitive damages and attorney fees (calculated using Ninth Circuit
14   benchmarks), this would be less than 10% of the $5 million threshold required.
15         That is not all, Plaintiff has the burden to demonstrate a possible amount in controversy and
16   Courts are clear that return of the full retail or wholesale price is not a proper measure, and that damages
17   would have to take into account the value of the Power Banks that customers actually received. A more
18   accurate maximum possible amount in controversy would be Defendant’s net profits (as any reasonable
19   value of the Power Banks the customers actually received would be at least Defendant’s actual costs),
20   or less than $24,000. This falls far short of the jurisdictional requirements.
21         Plaintiff cannot even come close to meeting his burden to establish jurisdiction, and this Court
22   should therefore dismiss this case for lack of subject-matter jurisdiction.
23   B.    STATEMENT OF ISSUE TO BE DECIDED
24          Whether this Court can exercise subject-matter jurisdiction over this action.
25   C.    FACTUAL AND PROCEDURAL BACKGROUND
26          Inland sells a variety of consumer electronics and accessories, including, in the past, certain
27   Power Banks. (Declaration of Michael Wang (“Wang Decl.”), ¶ 3.) These include the two Power
28   Banks at issue in the Complaint, one with a stated capacity of 10,400 mAh (“10,400 mAh Power
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                                              MOTION TO DISMISS
                                                                                      Case No. 3:18-cv-07261-JSC
1    Bank”) and one with a stated capacity of 20,800 mAh (“20,800 mAh Power Bank.”) (Wang Decl. ¶ 2.)
2    These Power Banks are sold through numerous retailers, including Inland’s own website, Fry’s
3    Electronics, and Amazon.com. (Compl., ¶¶ 10, 17.) Each retailer includes different descriptions of the
4    Power Banks with different amounts of details and emphasizing different characteristics of the Power
5    Banks. (Chuck Decl., Exs. A, B, C.) The Power Banks capacity in terms of mAh is only one of
6    numerous descriptors and technical specifications provided. (Chuck Decl., Exs. A, B, C.) Recognizing
7    that “mAh” is a technical term that customers may not readily understand or recognize, Inland also
8    provides a description of the capacity of the batteries in real-life usage, noting that they can provide up
9    to 24-hours additional talk time, a description that customers can readily understand and rely on.
10   (Chuck Decl., Exs. A, B, C.)
11          Inland’s Power Banks sold very poorly and resulted in very low profit margins. (Wang Decl., ¶
12   3.) As a result of poor sales and low profit margins, Inland made a business decision in July of 2018 to
13   discontinue its Power Banks business, and stopped importing any further Power Banks for sale. (Wang
14   Decl. ¶ 3.) Inland finished clearing its stock, shipping its last 10,400 mAh Power Bank on October 5,
15   2018, and shipping its last 20,800 mAh Power Bank on July 9, 2018. (Wang Decl. ¶ 3.)
16          Reflecting the poor sales and low profit margins of Inland’s Power Banks, Inland shipped only
17   9,444 units of the 10,400 mAh Power Bank, resulting in net revenue of less than $81,000, and net
18   profit of less than $11,000. (Wang Decl. ¶ 4.) The 20,800 mAh Power Bank fared even worse, with
19   Inland shipping only 6,370 units, resulting in net revenue of less than $110,000, and net profit of less
20   than $13,000. (Wang Decl. ¶ 5.) To be clear, Inland’s total combined revenue for both Power Banks at
21   issue is less than $200,000, and resulted in net profit of less than $24,000. (Wang Decl. ¶ 4-5.)
22   D.   ARGUMENT
23        1.    The Court Lacks Subject-Matter Jurisdiction Over Plaintiff’s Complaint
24          This Court has the power to dismiss a case for lack of subject-matter jurisdiction “at any time.”
25   Fed. R. Civ. Proc. 12(h)(3); Nevada v. Bank of Am. Corp., 672 F.3d 661, 673 (9th Cir. 2012)
26   (dismissing CAFA suit for lack of subject-matter jurisdiction; issue could be raised “at any time”).
27   Here, Plaintiff asserts in his Complaint that this Court can exercise subject-matter jurisdiction under
28   CAFA. (Compl., ¶ 7.) The party seeking to invoke federal jurisdiction under CAFA must prove by a
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1    preponderance of the evidence that (1) at least one member of the putative class is a citizen of a
2    different state than the defendant; (2) the class size exceeds 100 members; and (3) the amount in
3    controversy exceeds $5,000,000. 28 U.S.C. § 1332(d); Rodriguez v. AT & T Mobility Servs. LLC, 728
4    F.3d 975, 978 (9th Cir. 2013); Abrego Abrego v. The Dow Chem. Co., 443 F.3d 676, 683 (9th Cir.
5    2006) (where an amount sought for recovery is not included in the complaint, party seeking to assert
6    federal jurisdiction must show it is more likely than not that the $5 million bar is cleared). Here,
7    because Plaintiff seeks to invoke the Court’s jurisdiction, Plaintiff bears the burden of establishing that
8    the jurisdictional requisites have been met. See Tosco Corp. v. Cmtys. for a Better Env’t, 236 F.3d 495,
9    499 (9th Cir. 2001) (“When subject matter jurisdiction is challenged under Federal Rule of Procedure
10   12(b)(1), the plaintiff has the burden of proving jurisdiction in order to survive the motion.”),
11   abrogated on other grounds by Hertz Corp. v. Friend, 559 U.S. 77 (2010). Plaintiff cannot satisfy his
12   burden.
13        2.    CAFA’s $5,000,000 Amount in Controversy Requirement
14          Under CAFA, there must be in excess of $5,000,000 in controversy at the time the complaint is
15   filed. See Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 570-71 (2004) (diversity
16   jurisdiction is determined based on situation when complaint filed.) The amount in controversy may
17   include the class’s potential recovery, attorney’s fees (if a prevailing plaintiff would be entitled to
18   attorney’s fees and can provide a “reasonable estimate of the fees likely to be incurred”), and the value
19   of any equitable relief requested. See Giannini v. Nw. Mut. Life Ins. Co., No. 12-cv-0077, 2012 WL
20   1535196, at *4 (N.D. Cal. Apr. 30, 2012); Lyon v. W.W. Grainger Inc., No. 10-cv-0884, 2010 WL
21   1753194, at *6 (N.D. Cal. Apr. 29, 2010).
22          In order to determine if the amount in controversy requirement is satisfied, the Court may
23   consider affidavits or other evidence submitted by the parties. Lewis v. Verizon Commc’ns, Inc., 627
24   F.3d 395, 397 (9th Cir. 2010). Although an exhaustive accounting of possible damages is not
25   necessary, federal jurisdiction cannot be maintained on “speculation and conjecture.” Roth v. Comerica
26   Bank, 799 F. Supp. 2d 1107, 1117-18 (C.D. Cal. 2010) (amount in controversy requirement not met
27   where party seeking to invoke jurisdiction relied on untenable assumptions and projections). Following
28   these principles in the case currently before the Court, even if one were to include the monetary
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                                              MOTION TO DISMISS
                                                                                   Case No. 3:18-cv-07261-JSC
1    recovery the putative class would be entitled to if successful on the claims asserted, punitive damages,
2    25% of that figure in attorney’s fees, and the cost of an injunction, the amount in controversy would be
3    only 1% of the $5 million requirement.
4                            a. Maximum Actual Damages Possible is Less than $24,000.
5           Damages can be calculated by calculating “[t]he difference between what the plaintiff paid and
6    the value of what the plaintiff received.” See e.g .Jones v. ConAgra Foods, Inc., C 12-01633 CRB, 2014
7    WL 2702726, at *19 (N.D. Cal. June 13, 2014) (noting, however, that return of the full retail or wholesale
8    prices is not a proper measure of restitution); see also Ries v. Ariz. Beverages USA LLC, No. 10–1139,
9    2013 WL 1287416, at *7 (N.D.Cal. Mar. 28, 2013). Thus, any measure of damages would start with a
10   maximum of the defendant’s overall revenue, then either subtracting out the value of the products the
11   plaintiff actually received, or subtracting out the revenue defendant would have gotten by comparison
12   with other comparable products.
13          Here, even if we assume the value of the Power Bank received by customers was equal to
14   Inland’s costs, the maximum amount of possible actual damages would be Inland’s profit margin from
15   sales of the Power Banks – or $24,000. (See Wang Decl., ¶¶ 4-5.) Plaintiff plead that the actual amount
16   of “monetary damages” would be “determined at trial,” but the maximum possible amount would be
17   $24,000.
18          Even if Plaintiff were to ignore case law and argue that Inland’s entire revenue from these
19   Power Banks should be the calculation of damages (representing a windfall to plaintiffs who would
20   essentially receive Inland’s Power Banks for free, the maximum amount would be $200,000, still well
21   short of the required amount. (See Wang Decl., ¶¶ 4-5.)
22                           b. Maximum Attorney Fees Possible for Purposes of Amount in
                                Controversy is $6,000.
23
                    Attorney’s fees may be included in the amount in controversy if there is a legal basis
24
     for potentially awarding attorney’s fees to a prevailing plaintiff. Guglielmino v. McKee Foods Corp.,
25
     506 F.3d 696, 700 (9th Cir. 2007). If there is a basis to include attorney’s fees in the calculation, to
26
     the Ninth Circuit’s “benchmark” of 25% of the common fund (the amount of compensatory
27
     damages) is normally used to calculate this. Jasso v. Money Mart Express, Inc., No. 11-cv-5500,
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                                              MOTION TO DISMISS
                                                                                  Case No. 3:18-cv-07261-JSC
1    2012 WL 699465, at *7 (N.D. Cal. Mar. 1, 2012) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011,
2    1029 (9th Cir. 1998)); see also Giannini, 2012 WL 1535196, at *4 (using 25% of the compensatory
3    damages sought to calculate attorney’s fees for CAFA amount in controversy purposes).
4           Here, based on an absolute maximum amount of less than $24,000 in compensatory damages,
5    the benchmark attorney fees recoverable is less than $6,000.
6                             c. The Benchmark Punitive Damages Recoverable is Less than $24,000.
7           When calculating potential punitive damages for the purposes of determining whether amount
8    in controversy meets the requirements for jurisdiction under the Class Action Fairness Act, courts will
9    normally apply a 1:1 ratio between punitive and economic damages for the purposes of estimating the
10   amount in controversy. See e.g. Bayol v. Zipcar, Inc., 2015 WL 4931756, at *9 (N.D. Cal. Aug. 18,
11   2015) (citing Guglielmino v. McKee Foods Corp., 506 F.3d 696, 698 (9th Cir. 2007)).
12          First, Plaintiff would have to show that he is more likely than not to prove Inland had the
13   required knowledge and intent to merit awarding punitive damages to even add this figure into the
14   amount of controversy. Even if Plaintiff meets this burden, the maximum possible amount of punitive
15   damages would just match Plaintiff’s maximum actual damages, or $24,000. Even if using Inland’s
16   total revenue of $200,000 to calculate economic damages (and, as stated in Section 2(a) of this brief,
17   this would be an incorrect measure and the actual possible damages is far lower), there is no way for
18   punitive damages recoverable to exceed $200,000.
19                            d. The value of any equitable relief is $0.
20          To calculate the value of equitable relief, there are two potential methods to calculate value. If
21   the class action simply seeks to assert the individual rights of plaintiffs en masse, the test is the cost to
22   the defendant of an injunction as to a single plaintiff. In re Ford Motor Co./Citibank (S.D.), N.A., 264
23   F.3d 952, 959 (9th Cir. 2001); see also Kanter v. Warner-Lambert Co., 265 F.3d 853, 859 (9th Cir.
24   2001) (“[I]n class actions asserting the separate and distinct claims of class members . . . the
25   defendant’s-viewpoint approach was inappropriate”). This is the appropriate test in the vast majority
26   of cases. In re Ford Motor Co., 264 F.3d at 959. In the few cases where the class seeks to assert “a
27   single title or right in which they have a common and undivided interest,” the court calculates the cost
28   of the injunction under the “either viewpoint” rule and adds in either the benefit of the injunction to
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                                              MOTION TO DISMISS
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1    the class or the cost of compliance to the defendant. Id. This method of calculation, however, applies
2    only to actions “which involve a single indivisible res, such as an estate, a piece of property (the
3    classic example), or an insurance policy. These are matters that cannot be adjudicated without
4    implicating the rights of everyone involved with the res[.]” Id. (citation omitted); see also Lyon, 2010
5    WL 1753194, at *2 (rejecting “either viewpoint” analysis because plaintiffs were not asserting an
6    indivisible right).
7            Here, however, under either approach – the value of any equitable relief is $0. Inland
8    discontinued its Power Banks business in July of 2018, months before this suit was filed. (Wang
9    Decl., ¶ 3.). Inland shipped the last unit of the 10,400 mAh Power Bank on October 5, 2018, and the
10   20,800 mAh Power Bank on July 9, 2018. (Wang Decl., ¶ 3.) As Inland is no longer in the business
11   of selling the Power Banks identified in the Complaint, or indeed any Power Banks at all – the cost of
12   an injunction against Inland would be $0.
13         3.    Plaintiff Cannot Demonstrate that the Amount in Controversy Exceeds $5,000,000
14           To calculate the amount in controversy the Court need only add: (1) the aggregate value of the
15   putative class’s claim; (2) the value of Plaintiff’s injunctive relief; and (3) 25 percent of attorney’s fees.
16           As for the aggregate value of the putative class’s claim, the maximum amount of economic
17   damages possible would be less than $24,000, and the maximum amount of punitive damages would be
18   less than $24,000. The value of Plaintiff’s injunctive relief is $0, as Inland discontinued its Power Banks
19   product lines months before this suit was filed. The maximum value of attorney fees for the purposes of
20   calculating attorney’s fees would be less than $6,000.
21           In total, the absolute maximum amount in controversy would less than $54,000, only 1% of the
22   $5 million required.
23         Even if Plaintiff were to argue that Defendant’s entire revenue should be the basis of damages,
24   despite contrary case law, the maximum amount in controversy would still only be $450,000, falling
25   short of even 10% of the $5 million jurisdictional minimum.
26   E.    CONCLUSION
27           For the foregoing reasons, the amount in controversy does not even come close to meeting the
28   jurisdictional requirement of $5 million. Accordingly, there is no subject-matter jurisdiction under
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                                               MOTION TO DISMISS
                                                                                    Case No. 3:18-cv-07261-JSC
1    CAFA, and this action should be dismissed.
2
3    DATED: January 30, 2019                      MASCHOFF BRENNAN
4                                            By: /s/ Michael I. Katz
5                                                     Michael I. Katz
                                                      Quincy Chuck
6                                            Attorneys for Defendant INLAND PRODUCTS, INC.

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                                                                       Case No. 3:18-cv-07261-JSC
